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                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                    MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Linda Carpenter vs. Johnson & Johnson, et al.
    Case No.: 3:21-cv-9099-FLW-LHG




                                         NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Linda Carpenter.

           This 2nd day of June 2021.

                                                          Respectfully submitted,

                                                          ONDERLAW, LLC

                                                    By:   /s/ W. Wylie Blair
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                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 2nd day of June 2021.


                                                        /s/ W. Wylie Blair
